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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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10    GREGORY FRANKLIN,                             Case No. CV 21-3577-CBM (KK)
11                              Plaintiff,
12                        v.                        JUDGMENT
13    R. FRANKLIN,
14                              Defendant(s).
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16
17         Pursuant to the Order Accepting Findings and Recommendation of United
18   States Magistrate Judge,
19         IT IS HEREBY ADJUDGED that this action is dismissed without prejudice.
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21   Dated: NOVEMBER 17, 2021
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                                             HON. CONSUELO B. MARSHALL
23                                           Senior United States District Judge
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